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                                   UNITED STATES           DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

                   V.
                                                             Cr.   No.    18-cr-10307-MLW

DAREN DEJONG,
         Defendant.


                                                     ORDER


WOLF, D.J.                   •                                                            May 6, 2019


        As stated at the May 2, 2019 hearing, the court must determine

whether there is jointly undertaken criminal activity,                                       including

but not limited to an uncharged conspiracy, in order to calculate

the Guidelines range for defendant Daren DeJong's sentence.                                             See

U.S.S.G.      S1B1.3(a)(1)(B);                 United States v.            Gall,    552 U.S.      38,    49

(2007)        ("[A]              district      court        should        begin     all    sentencing

proceedings             by       correctly     calculating          the    applicable      Guidelines

range.").          If the government decided to forego alleging jointly

undertaken         criminal              activity,     as    it    agreed      to   forego      charging

DeJong for his personal criminal activity in 2015 and 2017,                                             the

court    must           decide       whether        "the     remaining         charge[]    adequately

reflect[s]         the seriousness of the actual offense behavior and that

accepting the agreement will not undermine the statutory purposes

of sentencing or the sentencing guidelines." U.S.S.G. §6B1.2(a).

        In   addition,              it    is   in   the     interest      of    justice    to   provide

DeJong       and    the           government        time    to     confer      concerning       DeJong's
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publicly expressed willingness to seek to substantially assist the

government in the investigation or prosecution of one or more other

individuals.      See U.S.S.G. §5K1.1.

      Accordingly, it is hereby ORDERED that, by May 8, 2019:

      1.     The government        shall    file    an affidavit          and memorandum

addressing    the   foregoing      U.S.S.G.        §1B1.3(a)(1)(B)          and    6B1.2(a)

issues.


      2.     The parties shall confer and report whether they request

a further continuance of the sentencing hearing to provide DeJong

an opportunity to attempt to render substantial assistance to the

government.

      3.     If   there   is   a   motion    to     file    under    seal    any    of   the

foregoing    submissions,      a   redacted version           of    the    submission(s)

shall be filed'for the public record unless good cause is shown

for   complete sealing of the document(s).                    See United States v.

Kravetz,    706 F.3d 47    (1st Cir.       2013).




                                                   UNITED    STATES   DISTRICT           GE
